                                                                     Motion GRANTED.
            IN THE UNITED STATES DISTRICT COURT                      Hearing reset for
            FOR THE MIDDLE DISTRICT OF TENNESSEE                     3/14/14 at 2:00 PM.
                     NASHVILLE DIVISION



UNITED STATES OF AMERICA                  )
                                          ) No. 3:12-00198
           v.                             )
                                          ) JUDGE TRAUGER
                                          )
ALI KASSEM                                )



                 DEFENDANT ALI KASSEM’S MOTION
                    TO CONTINUE PLEA HEARING

       Defendant, Ali Kassem, respectfully requests that

this     Honorable      Court       continue          the    Plea      Hearing

currently scheduled for February 10, 2014, at 2:00.

The parties do have an agreement.                 However, there a few

outstanding details to be resolved.



                                          Respectfully Submitted:


                                          /s   Deanna Bell Johnson
                                          Deanna Bell Johnson
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                                          Brentwood, TN 37027
                                          (615) 403-6622
                                          Attorney For Ali Kassem


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